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    10
         Admitted Pro Hac Vice
    11
         Attorneys for Plaintiffs Aram Terteryan, Tatyana Davtyan, Marine Davtyan, and the putative
    12   class

    13

    14

    15
                                       UNITED STATES DISTRICT COURT
    16
                                     CENTRAL DISTRICT OF CALIFORNIA
    17
                                                   WESTERN DIVISION
    18

    19   ARAM TERTERYAN, TATYANA                                        Case No. 2:16-cv-02029-GW-KS
         DAVTYAN, and MARINE DAVTYAN,
    20   individually and on behalf of all others                       CLASS ACTION
         similarly situated,
    21                                                                  DECLARATION OF BRYAN
                               Plaintiff.                               KEMNITZER IN SUPPORT OF MOTION
    22                                                                  FOR AWARD OF ATTORNEYS’ FEES,
                v.                                                      COSTS AND EXPENSES, AND SERVICE
    23                                                                  AWARDS AT FINAL APPROVAL
         NISSAN MOTOR ACCEPTANCE
    24   CORPORATION,                                                   Date: August 22, 2022
                                                                        Time: 8:30 a.m.
    25                     Defendant                                    Courtroom 9D – 9th Floor (1st St.)
         ____________________________________/                          Hon. George H. Wu
    26

    27   I, BRYAN KEMNITZER, DECLARE:

    28   1.     I am an attorney licensed to practice law in California. Our law firm, Kemnitzer, Barron

                                                                    1
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     1   & Krieg LLP, was retained by representatives Aram Terteryan, Tatyana Davtyan, and Marine

     2   Davtyan (“Class Representatives” or “Plaintiffs”) in this litigation against Nissan Motor

     3   Acceptance Corporation (“NMAC” or “Defendant”). I have personal knowledge of the

     4   information stated below, based on my participation in the litigation and my review of the file,

     5   and am competent to testify thereto.

     6   2.     Our law firm, Kemnitzer Barron & Krieg LLP, has extensive experience representing

     7   consumers in class actions and unfair business litigation. I make this declaration in support of

     8   Plaintiffs’ Motion for Attorneys’ Fees in this action.

     9   3.     The facts and procedural history stated in the accompanying memorandum in support of

    10   this motion are accurate to the best of my knowledge based upon my review of the file,

    11   discussions with opposing counsel and co-counsel, evaluation of documents produced, research

    12   and discovery in this matter.

    13         I.      PLAINTIFFS ARE ENTITLED TO ATTORNEYS’ FEES AND COSTS

    14   4.     Pursuant to paragraphs 5.01, 5.02, and 5.03 of the Settlement Agreement, class counsel is

    15   requesting fees of $733,333.00; 1/3 of the settlement fund; plus costs of $128,927.20 pursuant to

    16   paragraphs 2.35 and 2.36.

    17   5.     Class counsel’s costs and expenses from the Settlement Fund (¶2.36) are part of the

    18   Settlement Costs as defined in ¶2.35.

    19          II.    FEES AND COSTS INCURRED; REQUEST FOR FEES AND COSTS

    20   6.     In this case, as of May 20, 2022, Kemnitzer, Barron & Krieg has put in 1,417.70 hours of

    21   attorney and staff time, totaling $964,107.50 in fees, and $54,327.44 in out-of-pocket expenses

    22   prosecuting this matter.

    23                                  Kemnitzer, Barron & Krieg, LLP
               Lodestar                                                                                           $964,107.50
    24         (from start of case through May 20, 2022)
               Time slip summary (Exhibit A); (a detailed time slips report (87
    25         pages) from BQE will be provided upon request).
    26         Total Costs:                                                                                       $54,327.44
               (from start of case through May 20, 2022) (Exhibit A)
    27

    28   7.     A summary of the fees for each specific individual at our firm from the start of the action
                                                                      2
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     1   through May 20, 2022 is as follows (Exhibit A):

     2                      Timekeeper                              Hours Spent                              Fees
     3         Bryan Kemnitzer (@ $850/hr.)                                 438.30                            $372,555.00
               Nancy Barron (@ $850/hr.)                                     53.90                             $45,815.00
     4         Kristin Kemnitzer (@ $650/hr.)                               190.20                            $123,630.00
               Adam McNeile (@ $650/hr.)                                    586.40                            $381.160.00
     5         Sean Barry (@ $275/hr.)                                      148.90                             $40,947.50
     6   8.     Lyngklip & Associates have set forth their fees and accosts in Ian Lyngklip’s declaration.
     7                          III.       USE OF BILLQUICK FOR TIME SLIPS
     8   9.     Our firm utilizes computer software called “BQE Core Legal” that assists in keeping
     9   track of actual time expended in performing various legal tasks on any given case. Our firm bills
    10   in minimum increments of one tenth of an hour (0.1), or six minutes. We do not round up.
    11   10.    Insofar as the records of fees, costs, and expenses are concerned regarding each
    12   individual case file in the office, I am a custodian of those records. These time records are
    13   routinely prepared in the ordinary course of business, by the individuals with personal
    14   knowledge of the tasks performed and who have the responsibility to enter their time into the
    15   computer, at or near the time each task is actually performed.
    16   11.    In reviewing our detailed fees and costs, I used billing judgment to ensure that all time
    17   expended on this case was necessary to reach the excellent settlement obtained. I extensively
    18   reviewed every single one of our firms’ billing entries for this case and cut all time I deemed to
    19   be excessive or unnecessary for the prosecution of this matter, including taking out seven
    20   employees who had billed on the case.
    21   12.    Within our computer software, staff and attorneys use task-based billing codes to
    22   categorize time.
    23   L100 – Case Assessment and Development
    24   13.    KBK’s “L100” billing category includes Class Counsel’s work performed assessing and
    25   developing the theories underlying the case and performing the paralegal and development tasks
    26   necessary to prosecute and resolve the case. Accordingly, one of the paramount aspects of this
    27   billing category is that it includes Class Counsel’s pre-litigation meetings with the potential
    28   client, the assessment as to the viability of the potential case, and paralegal time during the
                                                                      3
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     1   prosecution of the case. KBK is very selective with respect to cases it takes, agreeing to represent

     2   less than 5% of potential clients who contact our office. This billing category also includes time

     3   spent on paralegal tasks performed by Class Counsel’s senior paralegal working on this matter.

     4   All of the time spent performing the tasks in this billing category is documented extensively in

     5   Class Counsel’s billing records. In all, Class Counsel’s attorneys and staff spent approximately

     6   226 hours and $123,587.50 performing work in this billing category.

     7   L160 – Settlement/Non-Binding ADR

     8   14.    The “L160” billing category includes time Class Counsel spent preparing for and

     9   participating in the mediation and two settlement conferences in this case as well as time spent

    10   preparing and negotiating the terms of a highly technical settlement agreement, together with the

    11   exhibits thereto, and working extensively with opposing counsel to complete the settlement. In

    12   all, Class Counsel’s attorneys and staff spent approximately 241.6 hours and $181,440.00

    13   performing work in this billing category.

    14   L200 – Pre-Trial Pleadings and Motions

    15   15.    The “L200” billing category includes the time Class Counsel’s attorneys and staff

    16   expended on drafting, reviewing, revising, and finalizing (i) the complaint; (ii) Opposition to

    17   Motion to Dismiss; (iii) Motion for Class Certification; (iv) Motion to Compel; (v) Joint Status

    18   Reports (vi) Motion for Preliminary Approval; and (vii) the instant Motion for Attorneys’ fees

    19   and Costs. It also includes the time Class Counsel spent preparing for and attending hearings in

    20   this matter. This billing category also will include the time Class Counsel will spend preparing

    21   for and attending the final approval hearing. KBK has spent approximately 520.5 hours and

    22   $353,785.00 performing work in this billing category, but anticipate these amounts will increase

    23   as Class Counsel has yet to complete the final approval papers and anticipates that the class

    24   action approval process and work necessary to implement the settlement will increase the

    25   lodestar by approximately $20,000.00 based on the remaining work necessary to bring the case

    26   to conclusion.

    27   L250 – Travel

    28   16.    The “L250” billing category includes the time Class Counsel’s attorneys and staff
                                                                     4
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     1   expended in traveling. The Class Counsel’s attorneys and staff spent approximately 12.7 hours

     2   and $10,355.00 performing work in this billing category.

     3   L300 – Discovery

     4   17.    This case involved extensive discovery, as set forth in greater detail in the Points and

     5   Authorities in support of this motion. The Class Counsel’s attorneys and staff spent

     6   approximately 415 hours and $293,575.00 performing work in this billing category.

     7                              IV.        CLASS COUNSEL’S EXPERIENCE

     8   The Law Firm of Kemnitzer, Barron & Krieg

     9   18.    Our law office has extensive experience in consumer class action litigation, including

    10   having tried a class action to judgment. Our law office has been appointed as lead counsel in

    11   over 250 class actions. Class Counsel has decades of experience in consumer issues, and has

    12   specialized in class actions for most of their lengthy careers

    13   19.    Kemnitzer, Barron & Krieg’s attorneys’ hourly rates include many factors beyond personal

    14   compensation, including office staff, equipment, insurance, research materials, and other overhead

    15   expenses. The firm does not charge separately for secretarial time and other clerical costs, which are

    16   also included in the hourly rate. Consumer litigation inevitably involves large corporations, which

    17   have the capacity to bring enormous resources to bear that individual consumers are simply unable

    18   to meet on their own. The partners manage this law firm to meet those challenges. This involves,

    19   among other things IT costs, investigation and research costs that are much higher than those a more

    20   generalized small firm might employ. This overhead is also included in attorneys’ hourly rate. This

    21   particular case could not have been brought and prosecuted, without this extensive support

    22   foundation included in overhead.

    23   20.    In contrast to the defense bar, in which attorneys compete for clients, there are not enough

    24   plaintiffs’ attorneys specializing in consumer protection litigation to meet the need. Kemnitzer,

    25   Barron & Krieg takes fewer than 5% of the cases for clients who contact our office. The firm turns

    26   away some meritorious cases for lack of resources.

    27   21.    The firm spends a significant amount of time researching the merits of the case prior to

    28   filing a complaint, in order to ensure that we only file meritorious complaints. Therefore, a
                                                                      5
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     1   significant but necessary amount of time is spent conducting research on all factual and legal

     2   aspects of the case prior to filing.

     3   22.     Kemnitzer, Barron & Krieg, LLP is a boutique plaintiffs’ firm. Currently, we have four

     4   partners, and two paralegals.

     5   23.     The reported cases in which lawyers from our firm have been involved include the

     6   following:

     7           •    Ibrahim v. Ford Motor Co. (1989) 214 Cal.App.3d 878 (Song-Beverly Act)
                 •    Kwan v. Mercedes-Benz (1994) 23 Cal.App.4th 174 (Song-Beverly Act)
     8           •    Jensen v. BMW of North America (1995) 36 Cal.App.4th 112 (Song-Beverly Act)
                 •    Music Acceptance v. Lofing (1995) 32 Cal.App.4th 61 (Song-Beverly Act)
     9           •    Bank of America v. Lallana (1998) 19 Cal.4th 203 (Rees-Levering Act and Comm.
                      Code)
    10           •    Damian v. Tamondong (1998) 65 Cal.App.4th 1115 (Rees-Levering Act)
                 •    Joseph v. J.J. MacIntyre (2002) 238 F. Supp.2d 1158 (Fair Debt Collection)
    11           •    Gutierrez v Autowest Dodge (2003) 114 Cal.App.4th 77 (Consumer Arbitration)
                 •    Joseph v. J.J. MacIntyre (2003) 281 F. Supp.2d 1156 (Fair Debt Collection)
    12           •    Graham v. DaimlerChrysler (2004) 34 Cal.4th 553 (Private Attorney General Fees)
                 •    Fireside Bank v. Superior Court (2007) 40 Cal.4th 1069 (Rees-Levering Class
    13                Action)
                 •    Juarez v. Arcadia Financial Ltd. (2007) 152 Cal.App.4th 889 (Rees-Levering)
    14           •    Pintos v. Pacific Creditors Association (9th Cir. 2009) 605 F.3d 665 (Fair Debt
                      Collection)
    15           •    Arguelles v. Americredit Financial Services (2010) 184 Cal.App.4th 825 (Consumer
                      Arbitration)
    16           •    Medrazo v. Honda of North Hollywood (2012) Cal.App.4th 1
                 •    Pierce v. Western Surety Company, (2012) 207 Cal.App.4th 83
    17           •    Wohlgemuth v. Caterpillar Inc., (2012) 207 Cal. App. 4th 1252 (CCP §998)
                 •    Mejia v. DACM, Inc. (2020) 54 Cal. App. 5th 691.
    18

    19   24.     Attached hereto as Exhibit B, is a list of some of the class action cases in which

    20   Kemnitzer Barron & Krieg has served as class counsel, in most cases as lead counsel.

    21           V.      COURTS ROUTINELY APPROVE OUR FIRMS’ HOURLY RATES

    22   25.     I request that $850.00 per hour be used to calculate the lodestar for Nancy Kemnitzer’s

    23   and my time, and $650.00 per hour to be used to calculate the lodestar for Adam McNeile’s and

    24   Kristin Kemnitzer’s time. I request that $275.00 per hour be used to calculate the lodestar for our

    25   paralegal, Sean Barry’s time. I am familiar with hourly rates charged throughout California for

    26   non-contingent civil class action litigation of comparable complexity. We know that our

    27   contemporaries bill at rates ranging over $$650.00 - $950.00 per hour. Thus, the hourly rates

    28   requested in this application are reasonable and representative of the rates charged by
                                                                       6
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     1   comparable lawyers in fees-for-services cases. Our firm took this case on a contingent fee basis,

     2   and our clients are not contractually obligated to pay for any work unless there is a recovery.

     3   Thus, our firm assumed the clients’ risk of loss.

     4   26.    On February 13, 2018, the Hon. William F. Highberger approved my rate of $850 per

     5   hour in the case of Ferreras v. Too Fast, Inc., Los Angeles County Superior Court, Case No.

     6   BC600720.

     7   27.    On October 4, 2018, the Hon. Edward Weil approved my rate of $850 per hour in the

     8   case of Rhoades v. Gateway One, Contra Costa County Superior Court, Case No. MSC16-00659.

     9   28.    On October 16, 2019, Hon. Thadd A. Blizzard approved my rate at $850 per hour in the

    10   case of Shabestari v. Bank of the West et al., Sacramento County Superior Court, Case No. 34-

    11   2017-00210831.

    12   29.    On December 12, 2019, Hon. Alan Perkins approved my rate at $850 per hour in the case

    13   of Campf v. The Golden 1 Credit Union, Sacramento County Superior Court, Case No. 34-2018-

    14   0228285.

    15   30.    On January 14, 2020, Hon. William Claster approved my rate at $850 per hour in the case

    16   of Melendez v. K Street Finance, Orange County Superior Court Case No. 30-2014-00722412.

    17   31.    On March 2, 2020, Hon. Barbara M. Scheper approved my rate at $850 per hour and

    18   Adam McNeile’s rate at $650 per hour in the case of Fielder v. Mechanics Bank, Los Angeles

    19   County Superior Court Case No. BC721391.

    20   32.    On November 18, 2020, Hon. Ethan P. Schulman Scheper approved my rate at $850 per

    21   hour and Adam McNeile’s rate at $650 per hour in the case of Autovest v. Saundrea Mabrey, San

    22   Francisco County Superior Court Case No. CGC-18-566617.

    23   33.    On December 16, 2020, Hon. Ronda J. McKaig approved my rate at $850 per hour and

    24   Adam McNeile’s rate at $650 per hour in the case of Lawson v. Ventura County Credit Union

    25   Ventura County Superior Court Case No. 56-2018-00520827.

    26   34.    On January 19, 2021, Hon. Yvonne Palazuelos approved my rate at $850 per hour and

    27   Adam McNeile’s rate at $650 per hour in the case of Buckingham v. Automotive Funding Group,

    28   Los Angeles Superior Court Case No. BCC492394.
                                                                      7
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     1   35.    On May 21, 2021, Hon. Maren E. Nelson approved my rate at $850 per hour and Adam

     2   McNeile’s rate at $650 per hour in the case of Johnson v. Hyundai Capital, America, Inc., Los

     3   Angeles Superior Court, Case No. BC565263.

     4   36.    On September 15, 2021, Hon. Bernard C. Barman, Jr. approved Adam McNeile’s rate at

     5   $650 per hour in the case of Marrero v. Safe 1 Credit Union, Kern County Superior Court Case

     6   No. BCV-20-101457.

     7   37.    On February 10, 2022, Hon. Theresa M. Traban approved my rate at $850 per hour and

     8   Adam McNeile’s rate at $650 per hour in the case of Onoa v. Westlake Financial, Los Angeles

     9   Superior Court, Case No. BC714108

    10   38.    Our rates do not, however, reflect the contingency risk we assume, which hourly fee

    11   lawyers in corporate practices do not face. Most attorneys are unwilling to represent consumers

    12   due to the sizable risks involved and the disparities in resources available to the respective

    13   parties. Invariably, the consumer is the underdog financially, and adverse parties generally have

    14   huge financial resources. They retain attorneys on an hourly fee basis, instructing them to litigate

    15   vigorously. For the defendants, these amounts of money are relatively small, so the risk is not a

    16   concern. From the vantage point of the consumer, however, the risk is substantial and often

    17   overwhelming.

    18                    VI.      QUALIFICATIONS OF ATTORNEYS AND STAFF

    19   A.     Bryan Kemnitzer

    20   39.    I graduated from Stanford University with a B.A. in 1972, and from the University of the

    21   Pacific, McGeorge School of Law with a J.D. in 1975. I was admitted to the California Bar in 1975.

    22   I am rated “AV” in Martindale-Hubbell. I have been a civil litigator for nearly forty years. I have

    23   had further professional training as a civil trial lawyer through NITA courses and many continuing

    24   education programs. I have tried numerous jury cases to judgment and have served as an arbitrator

    25   and judge pro tem.

    26   40.    I am a founding member of the law firm Kemnitzer, Barron & Krieg, LLP, which

    27   specializes in consumer litigation. My law practice is focused on representing consumers who

    28   have disputes with manufacturers, auto dealers and financial institutions. In addition to handling
                                                                       8
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     1   a large number of these types of cases at the pre-trial and trial level, the firm has also done

     2   significant work in this area in the California appellate courts.

     3   41.    Throughout my career, I have been actively involved in a number of organizations

     4   seeking to promote the interests of consumers through public interest litigation. For several

     5   years, I was a member of the Board of Directors of the San Francisco Lawyer Referral Service

     6   Association. I was a member of the Board of Governors of the Consumer Attorneys of California

     7   (formerly California Trial Lawyers Association) for over five years, starting in 1999.

     8   42.    I am a member of the National Association of Consumer Advocates, a non-profit

     9   corporation formed in response to the belief that an organization of private and public sector

    10   attorneys, legal services attorneys, law professors and students, whose primary practice or

    11   interests involve the protection and representation of consumers, was needed. Its mission is to

    12   promote justice for all consumers by maintaining a forum for information sharing among

    13   consumer advocates across the country and to serve as a voice for its members as well as

    14   consumers in the ongoing struggle to curb unfair and abusive business practices.

    15   43.    I have lectured on various aspects of consumer rights litigation at numerous professional

    16   seminars, including the annual conferences for the National Consumer Law Center, National

    17   Association of Consumer Advocates, the Consumer Attorneys of California, and the Practicing Law

    18   Institute’s Consumer Financial Service Litigation Program. I was a speaker for the Bridgeport Class

    19   Action Seminar in San Francisco regarding Arbitration and Class Actions and spoke at another

    20   Bridgeport conference regarding taking effective depositions. I have testified on these issues before

    21   various Sub-Committees of the California Assembly and Senate, and at the Federal Trade

    22   Commission in Washington.

    23   44.    In 2008, I was invited to give an intensive training to JAG officers and civilian legal

    24   services lawyers serving the Coast Guard.

    25   45.    I have been a guest lecturer at University of California Berkley School of Law (Boalt

    26   Hall) on numerous occasions. Specifically, in 2011, I spoke at a class regarding mediation and in

    27   2014 spoke at an FTC conference held at the school, speaking on consumer issues facing

    28   minorities and recent immigrants. In 2011, I talked with law students at the East Bay Community
                                                                      9
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  1   Law Center regarding consumer protection law.

  2   46.       From 2002 to 2012, I was the chair of the National Consumer Law Center’s development

  3   arm, the Partner’s Council. The National Consumer Law Center (NCLC), based in Boston, is the

  4   nation’s premiere provider of resources for consumer law. Not only does NCLC have numerous

  5   publications to assist consumer advocates; it also has an annual convention, participates in

  6   consumer class action litigation, and does in-depth investigation into consumer issues.

  7   47.       Detailed descriptions of my tasks are included in the detailed time report. I am the

  8   timekeeper identified as “Bryan Kemnitzer.” My current billing rate is $850 per hour.

  9   B.        Adam McNeile

 10   48.       In 2008, Adam McNeile graduated cum laude with a B.A. in Broadcast Journalism from

 11   the University of Southern California. In 2011, Mr. McNeile graduated with a J.D. from

 12   University of California, Berkeley, School of Law.

 13   49.       From December 2011 to January 2015, Mr. McNeile worked as an attorney specializing

 14   in bankruptcy litigation for the law firm Sheppard, Mullin, Richter & Hampton, LLP in both the

 15   Los Angeles and San Francisco offices. He was responsible, among other things, for motion

 16   practice, client relations, and making court appearances in federal court. Mr. McNeile

 17   represented numerous committees of unsecured creditors in multimillion-dollar bankruptcies

 18   during this time.

 19   50.       Mr. McNeile has worked at Kemnitzer, Barron & Krieg since February 2015. His major

 20   responsibilities include drafting briefs and other pleadings, interviewing clients, managing cases,

 21   serving as a client liaison, preparing and responding to discovery, including taking and defending

 22   depositions, garnering and analyzing evidence, appearing in court, and participating in

 23   mediations and settlement conferences. During his time at this law firm, he has worked on

 24   numerous complex consumer class actions as well as many individual cases.

 25   51.       Mr. McNeile has been an MCLE lecturer on various topics and has written articles,

 26   including as follows:

 27         •   2022 NACA Spring Training Co-Chair
            •   2021 NACA Spring Training, Lifecycle of an Auto Fraud Case
 28         •   2020 NCLC Consumer Rights Litigation Conference, Intro to Dealer Fraud
                                                                    10
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  1         •   2020 NACA Spring Training, Dealer Add-Ons Litigation
            •   2020 Berkeley Law Lecture, Running Your Own Law Firm
  2         •   Law360, April 21, 2020, “California Auto Defect Law Makes the Roads Safer for
                Everyone”
  3         •   2020 Housing and Economic Rights Advocates, MCLE training on the Rees-Levering
                Automobile Sales Finance Act
  4         •   2019 Public Law Center, MCLE training on the Rees-Levering Automobile Sales
                Finance Act
  5         •   2019 Bay Area Legal Aid, MCLE training on the Rees-Levering Automobile Sales
                Finance Act
  6         •   2018 NACA Auto Fraud Conference, Formal Discovery in Auto Fraud Cases
            •   2017 Guest Lecturer at UC Hastings Law School Consumer Law Seminar
  7         •   2015 Bay Area Legal Aid MCLE Negotiation Training

  8   52.       Mr. McNeile is actively involved in a number of organizations seeking to promote the

  9   interests of consumers through public interest litigation. He is a member of the National

 10   Association of Consumer Advocates and is actively involved with Public Citizen.

 11   53.       Detailed descriptions of his tasks are included in the detailed report attached hereto. He is

 12   the timekeeper identified as “Adam McNeile.” Mr. McNeile’s hourly rate is $650.00.

 13   C.        Kristin Kemnitzer

 14   54.       Ms. Kemnitzer earned her B.A. with honors from Stanford University in 2006, and

 15   graduated from University of California, Berkeley, School of Law in 2011. She passed the bar

 16   exam in November 2011 and was sworn in in December 2011.

 17   55.       In 2009, Ms. Kemnitzer served as a judicial extern for the Honorable Randall R. Rader,

 18   formerly Chief Judge of the United State Court of Appeals for the Federal Circuit. During law

 19   school, she served as Senior Articles Editor of the Berkeley Technology Law Journal. She also

 20   received a Certificate of Law and Technology upon graduation.

 21   56.       From 2011 until 2012, Ms. Kemnitzer was a litigation associate at the law firm Wilson,

 22   Sonsini, Goodrich & Rosati. While at Wilson Sonsini, she focused on Internet and copyright

 23   litigation, and class action defense, and also handled a variety of pro bono matters, including

 24   negotiating public performance rights for non-profit organizations, and an application for

 25   asylum.

 26   57.       She began working at Kemnitzer, Barron & Krieg in October 2012. She is responsible for

 27   all aspects of litigation and firm management, including drafting briefs and other pleadings,

 28   interviewing clients, managing cases, handling discovery, conducting legal research and analysis,

                                                                    11
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  1   appearing in court and arbitration, mediating cases, and engaging in appellate advocacy. She has

  2   a full case load involving both individual cases and class actions. During her tenure at the firm,

  3   she has litigated over 200 cases, including dozens of class actions.

  4   58.       Ms. Kemnitzer is involved in a number of consumer organizations, including the National

  5   Consumer Law Center, the National Association of Consumer Advocates, Public Citizen, Public

  6   Justice, Consumer Attorneys of California, and the Marin County Bar Association.

  7   59.       She is frequently asked to speak on consumer law topics. A list of recent speaking

  8   engagements is as follows:

  9         •   2021 Speaker at National Consumer Law Center, Consumer Litigation Rights
                Conference; New Developments in Auto Fraud
 10         •   2021 Speaker at National Consumer Law Center, Consumer Litigation Rights
                Conference; The ABCs of Used Car Cases
 11         •   PLI 26th Annual Consumer Financial Services Institute Conference; Arbitration, UDAP
                and Class Action Update
 12         •   2021 USC’s Gould School of Law Consumer Law Course Guest Lecture, The Rees-
                Levering Act
 13         •   2021 NACA Spring Training, Public Private Partnering on Auto Cases
            •   2020 National Consumer Law Center, New Developments in Auto Fraud
 14         •   2020 National Consumer Law Center, Settling Car Cases During the Pandemic
            •   2020 University of California Berkeley School of Law, Student training on Running
 15             Your Own Law Firm
            •   2020 Public Counsel, MCLE training on the Rees-Levering Automobile Sales Finance
 16             Act
            •   2020 Housing and Economic Rights Advocates, MCLE training on the Rees-Levering
 17             Automobile Sales Finance Act
            •   2020 Practicing Law Institute, Helping Homeowners Facing Fair Lending Problems
 18         •   2019 Host, National Consumer Law Center Women’s Reception
            •   2019 National Consumer Law Center, Consumer Litigation Rights Conference, The
 19             ABCs of Auto Fraud
            •   2019 Public Law Center, MCLE training on the Rees-Levering Automobile Sales
 20             Finance Act
            •   2019 Bay Area Legal Aid, MCLE training on the Rees-Levering Automobile Sales
 21             Finance Act
            •   2018 Speaker at National Consumer Law Center, Consumer Litigation Rights
 22             Conference, The ABCs of Used Car Cases
            •   2017 Speaker at National Consumer Law Center, Consumer Litigation Rights
 23             Conference, The ABCs of Used Car Cases
            •   2017 Guest Lecturer at UC Hastings Law School Consumer Law Seminar
 24         •   2015 CBS News ConsumerWatch Correspondent on the Song Beverly Consumer
                Warranty Act
 25         •   2015 Bay Area Legal Aid MCLE Negotiation Training
 26   60.       Ms. Kemnitzer has also published articles on consumer law issues for Plaintiff Magazine

 27   and Law360.

 28   61.       Detailed descriptions of her tasks are included in the detailed time report. She is the
                                                                    12
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  1   timekeeper identified as “Kristin Kemnitzer.” Her current billing rate is $650 per hour.

  2   D.     Nancy Barron

  3   62.    Nancy Barron is a co-founding partner of our firm. Ms. Barron holds a B.A. cum laude

  4   from Stanford University (1973). Ms. Barron was a Fulbright Scholar (1974-1975, Germany).

  5   Ms. Barron obtained her J.D. from the University of California, Hastings College of Law (1981).

  6   Ms. Barron served as an extern to the California State Supreme Court (1981).

  7   63.    Ms. Barron has been practicing litigation since 1981, nearly 40 years. From 1981 to 1984,

  8   Ms. Barron was an associate at Miller, Starr & Regalia. Ms. Barron began practicing consumer

  9   litigation with Bryan Kemnitzer in 1984. Ms. Barron is a founding partner in Kemnitzer, Barron

 10   & Krieg, LLP, which we first formed in 1986 as Kemnitzer, Dickinson, Anderson & Barron, one

 11   of the first plaintiffs’ firms in California to specialize in consumer law.

 12   64.    Ms. Barron has trial experience, beginning in 1983. As co-lead counsel, Ms. Barron and I

 13   have tried a class action to judgment. Gutierrez v. Auto West (San Francisco Superior Court

 14   Case No. CGC-00-317755).

 15   65.    Ms. Barron has appellate experience, including several reported decisions in consumer

 16   law cases. See, e.g., Ibrahim v. Ford Motor Co. (1989) 214 Cal.App.3d 878; Kwan v. Mercedes

 17   Benz (1994) 23 Cal.App.4th 174 (argued); and Gutierrez v. Auto West (2004) 114 Cal.App.4th

 18   77 (argued). Ms. Barron has also been lead and/or co-counsel in several unpublished decisions

 19   and has served as a contributing author and editor on numerous amicus briefs.

 20   66.    Ms. Barron is the author of more than fifty (50) articles, many of which discuss consumer

 21   issues, and a contributor to the manual, “Sales of Goods and Services,” as well as Consumer Law

 22   Pleadings with Disk, both published by NCLC, and widely used by both defense and plaintiffs’

 23   counsel. Ms. Barron is also the author of the book, “Return to Sender: Getting a Refund or

 24   Replacement for Your Lemon Car,” (National Consumer Law Center, Boston: 2000); which Ms.

 25   Barron is informed has sold out its second printing.

 26   67.    Ms. Barron has been a speaker and panelist for National Association of Consumer

 27   Advocates’ regional conferences, Consumer Attorneys of California statewide conferences, the

 28   National Consumer Law Center’s annual national conferences (since 1994), and a State Bar
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  1   approved provider of MCLE programs. Ms. Barron has given intensive training to JAG officers.

  2   Ms. Barron has been a guest lecturer in Consumer Law numerous times at the University of

  3   Santa Clara Law School and a judge of the Moot Court at Stanford Law School.

  4   68.    In September 2009, Ms. Barron was invited to participate in a panel discussion hosted by

  5   the Federal Trade Commission on debt collection practices. The outcome of that discussion and

  6   debate (between the industry and consumer participants) is expected to inform policy, the

  7   regulatory process and recommendations to Congress. Among the discussion points was abuse in

  8   the repossession process. Ms. Barron’s comments are quoted in the resulting publication,

  9   “Repairing a Broken System – Protecting Consumers in Debt Collection Litigation and

 10   Arbitration,” (FTC, July 2010). Ms. Barron has testified before California state legislative

 11   committees, advised staff on automotive consumer issues, and has assisted in drafting legislative

 12   amendments to consumer protection laws. Ms. Barron has drafted comment to the Consumer

 13   Financial Protection Bureau. Ms. Barron has contributed to amicus curiae briefs filed in appellate

 14   courts, including the U.S. Supreme Court.

 15   69.    From 1998-2004, Ms. Barron served as an elected Director of the National Association of

 16   Consumer Advocates (“NACA”), an organization comprised of approximately 1,000 attorneys

 17   who represent consumers in nearly all fifty states (and as Co-Chair 2003-2004). For four years,

 18   Ms. Barron was Editor-in-Chief of its publication, The Consumer Advocate, during which time

 19   she arranged peer-review, edited and published well over one hundred articles on substantive

 20   consumer law topics. Ms. Barron served on the NACA committee that revised the Class Action

 21   Guidelines (see, 255 F.R.D. 215).

 22   70.    Since 2008, Ms. Barron has served on the 12-member Board of Directors of the National

 23   Consumer Law Center in Boston (NCLC). While NCLC’s own mission is to defend the rights of

 24   low-income consumers and to advance economic justice, it serves both plaintiffs’ and defense

 25   attorneys in consumer law by publishing the standard manuals, which are used by all sides.

 26   71.    Detailed descriptions of her tasks are included in the detailed time report. She is the

 27   timekeeper identified as “Nancy Barron.” Her current billing rate is $850 per hour.

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  1   E.     Sean R. Barry

  2   72.    Sean R. Barry is our firm’s senior paralegal. Mr. Barry graduated from the University of

  3   Pennsylvania, earning a B.A. in Political Science in 1989, and earned his California State Bar

  4   Paralegal Certificate in September 1994 from California State University – San Francisco.

  5   73.    Mr. Barry has more than 25 years of experience as a litigation paralegal, and has been

  6   with Kemnitzer, Barron & Krieg since July 1998. While with the firm, Mr. Barry has

  7   successfully testified at trial in support of his document review and analysis. Mr. Barry’s

  8   responsibility as senior paralegal is the management of our firm’s active litigation cases for

  9   counsel. As such, he is required to review each and every piece of correspondence, pleadings,

 10   discovery, and case related materials delivered to our office by mail, fax, e-mail, or other means.

 11   In this initial review, Mr. Barry identifies events and calculates deadlines which must be

 12   calendared, enters the events into our electronic calendar, determines and recommends

 13   responsive action to the attorneys, responds where appropriate, and forwards the documents to

 14   the appropriate partners and/or associates. The entering of events into our electronic calendar

 15   generally takes only a small fraction of this time, yet is vital to his management of the firm’s

 16   active litigation, and is not merely a clerical task. Another small part of this initial review

 17   includes scanning the documents into an electronic database, with concurrent data management

 18   functions. It is also Mr. Barry’s responsibility to draft routine legal forms including, but not

 19   limited to proofs of service, case management statements, declarations, briefs and/or notices. It is

 20   his further responsibility to draft correspondence to courts, clients, opposing counsel, consultants

 21   and co-counsel regarding pending litigation. Mr. Barry is also regularly called upon to draft and

 22   edit written discovery requests and deposition notices to opposing parties, and to draft and edit

 23   discovery responses to opposing parties.

 24   74.    Detailed descriptions of his tasks are included in the detailed time report. He is the

 25   timekeeper identified as “Sean Barry.” Mr. Barry’s current hourly rate is $275.00. His rate has

 26   been approved by numerous courts in class action and individual cases.

 27          I declare under penalty of perjury under the laws of the State of California that the

 28   foregoing is true and correct to the best of my present recollection and this declaration is
                                                                  15
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  1   executed May 31, 2022, in Mill Valley, California.

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  3                                                          BRYAN KEMNITZER
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                          EXHIBIT A
Kemnitzer,   Barron
          Case      & Krieg, LLP
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42 Miller Avenue Third Floor                  #:1728                         Printed on: 5/16/2022
Mill Valley, CA 94941
                                                                                         Page 1 of 1

FILTERS USED :
Project In : Terteryan, Aram
and Resource In : Adam McNeile, Bryan Kemnitzer, C.C.P. 1033.5, Kristin Kemnitzer, Nancy Barron, Sean Barry
    Employee                                                                      Hours/Unit              Rate        Amount

Client ID: Terteryan, Aram
Project ID - Name (Manager):Terteryan, Aram - Terteryan, Aram(TS)
Services:
    Adam McNeile
                                                       Adam McNeile Total:            586.40           $650.00    $381,160.00
    Bryan Kemnitzer
                                                      Bryan Kemnitzer Total:          438.30           $850.00    $372,555.00
    Kristin Kemnitzer
                                                     Kristin Kemnitzer Total:         190.20           $650.00    $123,630.00
    Nancy Barron
                                                         Nancy Barron Total:           53.90           $850.00     $45,815.00
    Sean Barry
                                                           Sean Barry Total:          148.90           $275.00     $40,947.50

                                                              Services Total:       1,417.70                      $964,107.50
Expenses:
    C.C.P. 1033.5
                                                         C.C.P. 1033.5 Total:       1,514.60                       $54,327.44

                                                             Expenses Total:        1,514.60                       $54,327.44

                                              Project Terteryan, Aram Total:        2,932.30                     $1,018,434.94
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                          EXHIBIT B
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      •     Aguilar, Canton, Owens and Eaton v. Citizens Automobile Finance, Inc.: RBS
            Citizens, N.A., Civil No.: C 10-05345JSW (Northern District of California)

      •     AIS Services v. Navarrette, Sacramento County Superior Court Case No. 34-2008-
            00020740

      •     Ally Financial, Inc. v. Lazrovich, et al, Civil No. 111CV195659 (Santa Clara
            Superior Court)

      •     Alta Vista Credit Union v. Campbell, et al., and Related Cross Action, Case No.:
            CIVDS1009450 (San Bernardino County Superior Court)

      •     Arguelles-Romero, et al. v. Americredit Financial Services, Inc., Civil No.
            BC410509 (Los Angeles Superior Court)

      •     Asabi v. A-L FINANCIAL Consumer USA Inc. dba Drive Financial Services, Civil
            No. RG09443628 (Alameda Superior Court)

      •     Autovest LLC v. Mabrey, Case No. CGC-18-566617 (San Francisco Superior
            Court)

      •     Baker v. GEMB, Inc. et al. Civil No. C10-05261SBA (United States District
            Court for the Norther District of California)

      •     Bank of Stockton v. Tolentino, et al., Civil No. CV 160904 (Santa Cruz Superior
            Court)

      •     Bryan v. Franklin Capital Corp., Civil No. BC 340574 (Los Angeles Superior
            Court)

      •     Buckingham v. Automotive Funding Group, et al., Case No. BC492394 (Los
            Angeles Superior Court)

      •     Buzenes v. Nuvell National Auto Finance LLC, Los Angeles Superior Court Case
            No. BC407366

      •     Campf v. Golden 1 Credit Union, Sacramento County Superior Court, Case No.
            34-2018-00228285.

      •     California Community Credit Union v. Chapman, Sacramento County Superior
            Court Case No. 34-2009-00054626

      •     Cooperrider v. First Metropolitan Credit Union, Civil No. BC321978 (Alameda
            County Superior Court)

      •     Cordero v. American Honda Finance Corporation Civil No. 531470 (San Mateo
            County Superior Court)

      •     Dadian v. Westlake Services, Inc., Civil No. BC322765 (Los Angeles Superior
            Court)

      •     DaimlerChrysler Financial Services Americas LLC v. Pryer, et al., Civil
            No. RIC 470466 (Riverside Superior Court)
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      •     Davis v. Volvo Finance North America, Civil No. 03AS00938 (Sacramento
            Superior Court)

      •     Dawson v. Honda Financial Services, Civil No. RG 09443611 (Alameda Superior
            Court)

      •     DeLuca v. Wescom Central Credit Union, Los Angeles County Superior Court,
            Case No. BC472473

      •     Diaz v. Safe Credit Union, Case No. STK-CV-UOC-2018-13550 (San Joaquin
            Superior Court)

      •     Dixon v. County Financial Services, Inc., Civil No. RG10537949 (Alameda
            Superior Court)

      •     Eugene, et al. v. A-L Financial Corp, Sacrament County Superior Court, Case No.
            34-2011-00099541

      •     Fielder v. Mechanics Bank, Los Angeles County Superior Court, Case No.
            BC721391

      •     Fireside Bank v. Gonzales, et al., and Related Cross-Action, Los Angeles County
            Superior Court, Case No. BC 445836

      •     Ford Motor Credit Co. v. O’Neal, et al., Civil No. 37-2007-00077225-CL-CL-SC
            (San Diego Superior Court)

      •     Foster v. Repossess Auto Sales, et al., Civil No. BC 386112 (Los Angeles
            Superior Court)

      •     Friedrichs v. BMW Financial Services, U.S.D.C. C08-4486 PJH (Northern
            District of California)

      •     Gitti v. Mercedes Benz Credit, Civil No. BC359251 (Los Angeles County
            Superior Court)

      •     Grans v. SAFE Credit Union, Contra Costa Superior Court, Case No. C11-02692

      •     Hamm v. Consumer Portfolio Services, Inc., et al, 34-2010-00081238
            (Sacramento Superior Court)

      •     Hardcastle v. Bank of Stockton, Sacramento County Superior Court, Case No. 34-
            2013-00148919

      •     Johnson, Caras, Larsen v. Hyundai Capital America d/b/a Kia Motors Finance,
            Civil No. BC565263, Los Angeles Superior Court

      •     Jones v. Centerone Financial Services, LLC, Case No. 3:14-CV-01673 SI

      •     King v. California Republic Bank, Orange County Superior Court, Case No. 30-
            2013-00655804-CU-BT-CXC

      •     Lanier v. Infiniti Financial Services, Civil No. BC359250 (Los Angeles Superior
            Court)
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      •     Lawson v. Ventura Credit Union, Case No. 56-2018-00520827-CU-BT-VTA
            (Ventura Superior Court)

      •     Liedorff v. Centerone Financial Services LLC, U.S.D.C. C 08-5455 MHP
            (Northern District of California)

      •     Lobel Financial Auto Cases, JCCP No. 4563 (Sacramento Superior Court)

      •     Marrero v. Safe 1 Credit Union, Case No. BCV-20-101457-DRL (Kern County
            Superior Court)

      •     McCoy, et al. v. Alliant Credit Union, Civil No. RG 09-444283 (Alameda
            Superior Court)

      •     Mejia v. DACM, Inc., Case No. 30-2018-01023401-CU-BT-CXC (Orange County
            Superior Court

      •     Melendez v. K Street Finance, Inc. Civil No. 30-2014-00722412 (Orange County
            Superior Court)

      •     Meyer v. First City Credit Union, Civil No. BC386098 (Los Angeles Superior
            Court)

      •     Meza v. ACC Consumer Finance LLC, Civil No. RG094558893 (Alameda
            Superior Court)

      •     Miliate v. San Diego House of Motorcycles, Inc., Case No. 37-2018-00035131-
            CU-BT-CTL (San Diego County Superior Court)

      •     Montes v. Kinecta Federal Credit Union, Civil No. 30-2015000789292 (Orange
            County Superior Court)

      •     Morrison v. Credit Acceptance Corp. No. C 10-00549 PHJ (N.D. California)

      •     Orizabal v. LBS Financial Credit Union, Civil No. (Los Angeles Superior Court)

      •     Pacific Service Credit Union v. Eugenia Aguilar Hernandez, et al., Fresno County
            Superior Court, Case No. 06ECG03625 JH

      •     Padilla v. Premier Auto Credit, et al., Los Angeles County Superior Court, Case
            No. BC482350

      •     Palacios v. Discount Finance Corp., et al., Los Angeles County Superior Court,
            Case No. BC470675

      •     Peraza v. Nissan Motor Acceptance Corporation, Civil No. BC 201048 (Los
            Angeles Superior Court)

      •     Quality Financial, Inc. v. Castillo, et al., and Related Cross-Action, Los Angeles
            Superior Court, Case No. KC061825

      •     Ramirez v. Balboa Thrift and Loan Association, and Related Actions, San Diego
            County Superior Court, Case No. 37-2009-00099225-CU-BT-CTL
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      •     Rhoades v. Gateway One Lending & Finance, LLC, Civil No. C16-00659 (Contra
            Costa Superior Court)

      •     Richardson v. Wells Fargo Auto Finance, Inc., Civil No.: CGC-08-481662 (San
            Francisco County Superior Court)

      •     Rodriguez v. Hyundai Motor Finance Company, Civil No.: 05CC05238 (Orange
            County Superior Court)

      •     Ruiz v. Credit Acceptance Corp., Civil No. BC 193888 (Los Angeles Superior
            Court)

      •     SafeAmerica Credit Union v. Marlyn Turla, et al. Civil No.: 106CV068292 (Santa
            Clara Superior Court)

      •     Safe Credit Union v. Martin, et al., Civil No. 06AM05906 (Sacramento Superior
            Court)

      •     Salazar v. 1st Pacific Credit Union, Civil No. 06AS01213 (Sacramento Superior
            Court)

      •     Salimi v. BMW Financial Services, et al., USDC Northern District of California,
            Case No. C12-01754 JSW

      •     Santos v. Meriwest Credit Union, Civil No. RG09480463 (Alameda Superior
            Court)

      •     Serrano v. Chase Chrysler Plymouth, Civil No. CV 007771 (San Joaquin Superior
            Court)

      •     Shabestari v. MS Services, LLC, Civil No. 34-2017-00210831 (Sacramento
            Superior Court)

      •     Stephens v. Bay Federal Credit Union, Civil No. CGC-08-478197 (San Francisco
            Superior Court)

      •     Sutherland v. Santander Consumer USA, Inc., Alameda County Superior Court,
            Case No. RG10507124

      •     TK Credit Recovery v. Blaurock, and Related Cross-Action, Alameda County
            Superior Court, Case No. RG13676609

      •     TK Credit Recovery v. Macias, and Related Cross-Action, Contra Costa County
            Superior Court, Case No. C14-00919

      •     Tolentino v. Bank of Stockton, Civil No. CV 160904 (Santa Cruz Superior Court)

      •     United Auto Credit Corporation v. Mesngon, Civil No. HG14747897 (Alameda
            Superior Court)

      •     Vitrano v. Santander Consumer USA Inc., Civil No. 2:13-cv-02492-AB-MRW
            (United States District Court for Central District of California)
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      •     Walker v. Westlake Financial Services, Civil No. BC436725 (Los Angeles
            Superior Court)

      •     Washington v. Citizens Equity First Credit Union, Civil No. RG12636668
            (Alameda Superior Court)

      •     White v. Topaz Financial Services, LLC, et al., Los Angeles County Superior
            Court, Case No. BC472910

      •     Wiggins v. Heritage Community Credit Union, Civil No. 05AS02705 (Sacramento
            Superior Court)

      •     Williams v. Tidewater Finance Company, et al., Los Angeles County Superior
            Court, Case No. BC487314

      •     Willoughby v. DT Credit Corporation, Civil No. BC336262 (Los Angeles
            Superior Court)

      •     Wimberly v. Triad Financial Corporation, Civil No. 30-2008-00059511 (Orange
            County Superior Court)

      •     Yeh v. Nissan Motor Acceptance Corporation, Civil No. 768021 (Santa Clara
            Superior Court)
